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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 F.J. MILLER,
                                                 Case No. 1:18-cv-00905
                   Plaintiff,                    Hon. Paul L. Maloney

 v.

 INTERURBAN TRANSIT PARTNERSHIP,
 et al.,

                Defendants.
 _____________________________________/

                DEFENDANT INTERURBAN TRANSIT PARTNERSHIP’S
                         RESPONSE IN OPPOSITION TO
                 PLAINTIFF’S MOTION FOR A CHANGE OF VENUE

              For essentially the reasons stated in the response filed by Grand Valley State

University (R. 28, PageID.107-09), this Court should deny the motion filed by Plaintiff, F.J.

(“Watchdog”) Miller, which either requests a change of venue or the recusal of Judge Maloney (R.

26, PageID.98-105). Specifically, Miller identifies neither a new venue nor any grounds for

transferring this litigation elsewhere. Nor has Miller articulated sufficient grounds for Judge

Maloney’s recusal from this case. This Court should deny Miller’s motion.

                                            Respectfully submitted,

                                            MILLER JOHNSON
                                            Attorneys for Defendant Interurban


Dated: October 3, 2018                      By /s/Salvatore W. Pirrotta (P62596)
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